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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
JOHNNY MARVIN HENNING, )
Petitioner, §
VS. § No. 05-1022-T/An
TONY PARKER, §
Respondent. §

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ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL

 

Petitioner Johnny Marvin Henning, Tennessee Department of Correction prisoner

number 119491, an inmate at the Northwest Correctional Cornplex in Tiptonville,

Tennessee, filed a pro se petition pursuant to 28 U.S.C. § 2254 on January 27, 2005. On

April 18, 2005, pursuant to Rule 4 of the Rules Governing § 2254 Cases, the Court ordered

respondent Tony Parker to file a response to the petition. On May 5, 2005, plaintiff filed a

motion for appointment of counsel.

lt is Well settled that the constitutional right to counsel found in the Sixth Amendment

does not apply to habeas corpus proceedings, Which are civil in nature. w McCleskey v.

Zant, 499 U.S. 467, 495 (1991) (citing Pennsylvania v. Finley, 481 U.S. 551, 555 (1987)

(“[T]he right to appointed counsel extends to the first appeal of right, and no further.”);

Cobas v. Burgess, 306 F.3d 441, 444 (6"‘ Cir. 2002), cert. denied, 538 U.S. 984 (2003).

This document entered on the docket sheet in compliance
with nule 58 and/or 79 (a) FHCP On 51 (O f 0 5

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Instead, 28 U.S.C. § 2254(h) provides that the appointment of counsel is governed by 18
U.S.C. § 3006A:

(2) Whenever the United States magistrate judge or the court determines that

the interests of justice so require, representation may be provided for any

financially eligible person Who --

(B) lis seeking relief under section 2241, 2254, or 2255 of title 28.
§ 3006A(a)(2)(B).

If the district court determines that an evidentiary hearing is necessary, the interests
of justice always require the appointment of counsel: “It` an evidentiary hearing is
Warranted, the judge must appoint an attorney to represent a petitioner Who qualities to have
counsel appointed under 18 U.S.C. § 3006A. . . .” Rule 8(c), Rules Governing § 2254
Cases. If, however, an evidentiary hearing is not required, the decision as to whether the
interests of justice Warrant the appointment of counsel remains Within the discretion of the
district court. Mirav. Marshall, 806 F.2d 63 6, 638 (6“‘ Cir. 1986); Lemeshko v. Wrona, 325
F. Supp. 2d 778, 787 (E.D. Mich. 2004).

ln determining whether the “interests of justice” Warrant the appointment of counsel,
the Court must first look to the merits of petitioner’s claims. If the claims are Without merit,
the court need not appoint counsel. Abdullah v. Norris, 18 F.3d 571, 573 (8“‘ Cir.), cert.
denied, 513 U.S. 857 (1994). “In exercising its discretion, the district court should consider

the legal complexity of the case, the factual complexity of the case, and the petitioner’s

ability to investigate and present his claims, along With any other relevant factors.” ig

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Where the issues can be resolved on the basis of the state court record alone, court-appointed
counsel is not warranted Boyd v. Groose, 4 F.3d 669, 671 (8th Cir. 1993).

A review of the record as it currently stands reveals that the interests of justice do not
require the appointment of counsel to represent petitioner at this time. Even if the Court
were to deem petitioner’s claims nonfrivolous, the appointment of counsel would not
significantly benefit the petitioner and the Court. The petition indicates that the claims in
this case may, in fact, be time-barred, which is an issue that will be resolved on the state
court record alone. Even if` the claims are timely, the Fourth Amendment issues raised are
not complex, and petitioner appears well able to present his case,

Accordingly, the motion for appointment of counsel is DENIED.

IT IS SO ORDERED.

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 9 in
case 1:05-CV-01022 was distributed by f`aX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

Johnny Marvin Henning
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Honorable J ames Todd
US DISTRICT COURT

